Case 18-36375-KLP           Doc 28      Filed 05/14/19 Entered 05/14/19 15:12:14        Desc Main
                                       Document      Page 1 of 17


                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division


In re: GRANVILLE LEROY GREEN,                                        Case No. 18-36375-KLP
                                                                     Chapter 7
                                           Debtor.

               TRUSTEE'S MOTION TO AUTHORIZE PRIVATE SALE
         OF REAL PROPERTY OF THE ESTATE PURSUANT TO 11 U.S.C. § 363

        NOW COMES the Chapter 7 Trustee, Roy M. Terry, Jr. (the "Trustee"), by counsel, and

files this motion for entry of an order pursuant to 11 U.S.C. § 363(f), Federal Rules of

Bankruptcy Procedure 6004, and Local Bankruptcy Rules 6004-2, and moves this Court for entry

of an order authorizing the Trustee to sell by private sale the property commonly known as

9123 Colonnade Circle, Ashland, Virginia 23005-7463, with such sale to be free and clear of all

liens, claims, encumbrances, and interests, and such liens, claims, encumbrances, and interest to

attach, to the same extent and in the same priority, to the proceeds of such sale, and in support

thereof respectfully represents as follows:

                                                    Jurisdiction

        1.       This court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 & 1334.

        2.       This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(N).

        3.       Venue is proper pursuant to 28 U.S.C. §§ 1408 & 1409.




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Klementina V. Pavlova, VSB No. 92942
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P.O. Box 1998
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Case 18-36375-KLP        Doc 28     Filed 05/14/19 Entered 05/14/19 15:12:14          Desc Main
                                   Document      Page 2 of 17


                                              Facts

        4.      On December 20, 2018 (the "Petition Date"), Granville Leroy Green (the

"Debtor") filed a voluntary petition for relief under Chapter 7 of the Bankruptcy Code in the

United States Bankruptcy Court for the Eastern District of Virginia, Richmond Division.

        5.      Roy M. Terry, Jr. was appointed interim Chapter 7 Trustee and continues to serve

in that capacity.

        6.      As of the Petition Date, the Debtor owned a certain piece of real property in

Hanover County commonly known as 9123 Colonnade Circle, Ashland, Virginia 23005-7463,

and more particularly described as follows:

                ALL that certain lot, piece or parcel of land, lying and being in
                Hanover County, Virginia, containing 1.000 acres, more or less,
                and designated as Lot 2, Section 2, Hickory Hill, on subdivision
                plat made by Balzer & Associates, Inc., dated November 8, 2010,
                recorded November 24, 2010, in the Clerk's Office, Circuit Court,
                Hanover County, Virginia, in Subdivision Plat Book 40, pages
                160-175, to which plat reference is hereby made for a more
                particular description.

                STREET ADDRESS: 9123 Colonnade Circle, Ashland, Virginia
                23005.

                BEING the same real estate conveyed to Granville L. Green by
                deed from Royal Dominion Homes, Inc., a Virginia Corporation,
                dated October 16, 2012, and recorded in the Clerk's Office, Circuit
                Court, Hanover County, Virginia, in Deed Book 3041, page 1238.

(the "Property").

        7.      The Property is encumbered by a first priority Deed of Trust from Granville

LeRoy Green (grantor/borrower) to Newman & Wright (grantees/trustees) with an approximate

principal balance of $248,754.70 as of October 16, 2018, for the benefit of the Wells Fargo Bank,

NA (lender), made October 19, 2012, recorded October 22, 2012 in the Clerk's Office of the




                                                2
Case 18-36375-KLP          Doc 28    Filed 05/14/19 Entered 05/14/19 15:12:14          Desc Main
                                    Document      Page 3 of 17


Circuit Court of Hanover County, Virginia, as Instrument # 20121022000144900 (the "First

Deed of Trust").

        8.      The Trustee has been advised that the Property is also encumbered by a judgment

lien to Brant Harper (plaintiff), in the amount of $8,000.00 including interest at six percent (6%)

from February 3, 2014, recorded February 25, 2014, in the Clerk's Office of the Circuit Court of

Hanover County, Virginia, as Instrument # 20140225100008020, Book 61, at page 1206 (the

"Judgment Lien"). The Trustee will evaluate this Judgment Lien and determine its validity and

status prior to closing.

        9.      On April 10, 2019, Hickory Hill Property Owners Association, Inc., by counsel,

filed a proof of claim based on a judgment for unpaid association dues in the amount of

$1,290.80. The Trustee will evaluate this judgment and determine its validity and status prior to

closing.

        10.     On April 3, 2019, the Trustee filed an Application to Employ Real Estate Agent

(Re/Max Commonwealth) (doc. no. 23). On April 25, 2019, the Court entered an Order granting

the application to employ Re/Max Commonwealth (doc. no. 25).

        11.     The Trustee has entered into a Purchase Agreement, subject to Court approval,

dated April 25, 2019, from Daniel Akono and Sorelle Kamdem (the "Purchasers") to purchase

the Property for Three Hundred Thirty-Eight Thousand dollars ($338,000) (the "Sale Contract").

A copy of the Sale Contract is attached hereto as Exhibit A.

        12.     The sale of the Property would be free and clear of all liens, claims, encumbrances

and interests, and such liens, claims, encumbrances and interests would attach to the proceeds of

the sale to the same extent and in the same order of priority.




                                                 3
Case 18-36375-KLP           Doc 28     Filed 05/14/19 Entered 05/14/19 15:12:14            Desc Main
                                      Document      Page 4 of 17


        13.        The Trustee believes the sale of the Property is in the best interest of the Debtor,

the bankruptcy estate, the lienholders, and unsecured creditors.

        14.        The Trustee prays this Court enter an Order waiving the fourteen (14) day stay in

Federal Rule of Bankruptcy Procedure 6004(h), to allow the parties to proceed immediately upon

entry of an order.


        WHEREFORE, the Trustee respectfully requests entry of an order substantially in the

form attached hereto: (a) authorizing the Trustee to sell the property commonly known as

9123 Colonnade Circle, Ashland, Virginia 23005-7463, by private sale to Daniel Akono and

Sorelle Kamdem (the "Purchasers") for the sum of Three Hundred Thirty-Eight Thousand

Dollars ($338,000), with such sale to be free and clear of all liens, claims, encumbrances and

interests, and such liens, claims, encumbrances and interests would attach to the proceeds of the

sale to the same extent and in the same order of priority; (b) authorizing the Trustee to proceed to

closing and execute all necessary documents and instruments to complete the sale of the

Property; (c) ordering that the fourteen (14) day waiting period imposed by Federal Rule of

Bankruptcy Procedure 6004(h) is waived, thereby allowing the Trustee to proceed with the sale

of the Property immediately upon entry of this order; and (d) granting the Trustee such other and

further relief as is deems just and proper.


Date: May 14, 2019                               /s/ Klementina V. Pavlova
                                                 William A. Gray, VSB No. 46911
                                                 Klementina V. Pavlova, VSB No. 92942
                                                 SANDS ANDERSON PC
                                                 P.O. Box 1998
                                                 Richmond, Virginia 23218-1998
                                                 Telephone: 804.648.1636
                                                  Counsel for Roy M. Terry, Jr., Chapter 7 Trustee
ND4814-5868-4565




                                                    4
Case 18-36375-KLP           Doc 28      Filed 05/14/19 Entered 05/14/19 15:12:14       Desc Main
                                       Document      Page 5 of 17
                                                                               Proposed Order

                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

In re: GRANVILLE LEROY GREEN,                                        Case No. 18-36375-KLP
                                                                     Chapter 7
                                           Debtor.

                                                    ORDER

        This matter comes before the Court on the Trustee's Motion to Authorize Private Sale of

Real Property of the Estate Pursuant to 11 U.S.C. § 363 (the "Motion") seeking, among other

things, to sell a certain piece of real property commonly known as 9123 Colonnade Circle,

Ashland, Virginia 23005-7463, and more particularly described as follows:

                 ALL that certain lot, piece or parcel of land, lying and being in
                 Hanover County, Virginia, containing 1.000 acres, more or less,
                 and designated as Lot 2, Section 2, Hickory Hill, on subdivision
                 plat made by Balzer & Associates, Inc., dated November 8, 2010,
                 recorded November 24, 2010, in the Clerk's Office, Circuit Court,
                 Hanover County, Virginia, in Subdivision Plat Book 40, pages
                 160-175, to which plat reference is hereby made for a more
                 particular description.

                 STREET ADDRESS: 9123 Colonnade Circle, Ashland, Virginia
                 23005.

                 BEING the same real estate conveyed to Granville L. Green by
                 deed from Royal Dominion Homes, Inc., a Virginia Corporation,
                 dated October 16, 2012, and recorded in the Clerk's Office, Circuit
                 Court, Hanover County, Virginia, in Deed Book 3041, page 1238.

(the "Property"). Upon consideration of the Motion,

        IT IS ORDERED that the Motion is GRANTED;

        IT IS ORDERED that the Trustee is authorized to sell the property commonly known as

9123 Colonnade Circle, Ashland, Virginia 23005-7463, by private sale to Daniel Akono and

William A. Gray, VSB No. 46911
Klementina V. Pavlova, VSB No. 92942
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Case 18-36375-KLP        Doc 28    Filed 05/14/19 Entered 05/14/19 15:12:14            Desc Main
                                  Document      Page 6 of 17


Sorelle Kamdem (the "Purchasers") for the sum of Three Hundred Thirty-Eight Thousand

Dollars ($338,000);

        IT IS ORDERED that the sale of the Property shall be free and clear of all liens, claims,

encumbrances, and interests, with such liens, claims, encumbrances, and interests to attach, to the

same extent and in the same priority, to the proceeds of such sale;

        IT IS ORDERED that the Trustee is authorized to proceed to closing and execute all

necessary documents and instruments to complete the sale of the Property; and

        IT IS ORDERED that the fourteen (14) day waiting period imposed by Federal Rule of

Bankruptcy Procedure 6004(h) is waived, thereby allowing the Chapter 7 Trustee to proceed with

the sale of the Property immediately upon entry of this order.


Date:
                                                     KEITH L. PHILLIPS, JUDGE
                                                     United States Bankruptcy Court

                                                     Entered to the Docket:
I ask for this:


/s/ Klementina V. Pavlova
William A. Gray, VSB No. 46911
Klementina V. Pavlova, VSB No. 92942
SANDS ANDERSON PC
P.O. Box 1998
Richmond, Virginia 23218-1998
Telephone: 804.648.1636
 Counsel for Roy M. Terry, Jr., Chapter 7 Trustee

                  LOCAL BANKRUPTCY RULE 9022-1(C)(2) CERTIFICATION

       I hereby certify that on the 14th day of May, 2019, a true copy of the foregoing proposed
Order was served (as an exhibit to the Motion) on all parties receiving service of the Motion.

                                                  /s/ Klementina V. Pavlova




                                                 2
Case 18-36375-KLP      Doc 28     Filed 05/14/19 Entered 05/14/19 15:12:14   Desc Main
                                 Document      Page 7 of 17


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 Chapter 7 Trustee

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Assistant U.S. Trustee




                                              3
Case 18-36375-KLP   Doc 28    Filed 05/14/19 Entered 05/14/19 15:12:14EXHIBIT A
                                                                        Desc Main
                             Document      Page 8 of 17
Case 18-36375-KLP   Doc 28    Filed 05/14/19 Entered 05/14/19 15:12:14   Desc Main
                             Document      Page 9 of 17
Case 18-36375-KLP   Doc 28    Filed 05/14/19 Entered 05/14/19 15:12:14   Desc Main
                             Document     Page 10 of 17
Case 18-36375-KLP   Doc 28    Filed 05/14/19 Entered 05/14/19 15:12:14   Desc Main
                             Document     Page 11 of 17
Case 18-36375-KLP   Doc 28    Filed 05/14/19 Entered 05/14/19 15:12:14   Desc Main
                             Document     Page 12 of 17
Case 18-36375-KLP   Doc 28    Filed 05/14/19 Entered 05/14/19 15:12:14   Desc Main
                             Document     Page 13 of 17
Case 18-36375-KLP   Doc 28    Filed 05/14/19 Entered 05/14/19 15:12:14   Desc Main
                             Document     Page 14 of 17
Case 18-36375-KLP   Doc 28    Filed 05/14/19 Entered 05/14/19 15:12:14   Desc Main
                             Document     Page 15 of 17
Case 18-36375-KLP   Doc 28    Filed 05/14/19 Entered 05/14/19 15:12:14   Desc Main
                             Document     Page 16 of 17
Case 18-36375-KLP   Doc 28    Filed 05/14/19 Entered 05/14/19 15:12:14   Desc Main
                             Document     Page 17 of 17
